        Case 2:17-cv-00092-SEH Document 1 Filed 12/18/17 Page 1 of 4



Elizabeth W. Lund
Berg Lilly, PC
1 West Main Street
Bozeman, MT 59715
406-587-3181-telephone
406-587-3240 - fax
lund@berglawfirm.com

Attorneys for Defendant Federal
Insurance Company


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION

ELIZABETH SADAJ,           )                 Cause No.   ev- 17-q.2. - t3 ll-5EH
                           )
            · Plaintiff,   )
                           )                 NOTICE OF REMOVAL UNDER
    vs.                    )                 28 U.S.C. § 1441(b) (DIVERSITY)
                           )                 CLERK'S ACTION REQUIRED
FEDERAL INSURANCE          )
COMPANY and JOHN DOES 1-5, )
                           )
              Defendants.  )
________ )


TO:   THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
      DISTRICT OF MONTANA, BUTTE DIVISION

      Please take notice that Defendant Federal Insurance Company ("FIC")

hereby removes to this Court the state court action described below under

28 U.S.C. § 1441(b) on the grounds of diversity jurisdiction.


                                         1
            Case 2:17-cv-00092-SEH Document 1 Filed 12/18/17 Page 2 of 4



       1.      This Is a Notice of Removal Based on Diversity of Citizenship for
               an Action Pending in the District Court of the Eighteenth Judicial
               District of the State of Montana, in and for the County of Gallatin.

       FIC is the lone named defendant in a civil action filed in the District Court

of the Eighteenth Judicial District in and for Gallatin County, styled Elizabeth

Sadaj v. Federal Insurance Company and John Does 1-5, Cause No. DV-14-907C

(the "State Court Action"). A copy of the Complaint and Demand for Jury Trial

("Complaint") is attached as Exhibit A. 1

       2.      FIC Received the Complaint and Summons on December 4, 2017.

       Plaintiff Elizabeth Sadaj ("Sadaj") served FIC with the Summons and

Complaint by mailing a copy of the same to the Montana Insurance Commissioner.

On December 4, 2017, the Montana Commissioner of Securities & Insurance

mailed the Summons and Complaint to FIC's Registered Agent, CT Corporation.

See Exhibit D, Certified Mail envelope. It was received on December 4, 2017,

Exhibit D, Service of Process Transmittal showing "Date of Service by Certified

Mail on 12/04/17." Removal is thus timely under 28 U.S.C. § 1446(b) because

fewer than 30 days have passed since FIC received the Summons and Complaint.


1
 For the Court's reference, the other defendant identified in the Complaint, Spanish Peaks
Holdings, LLC, was voluntarily dismissed out of this action by Plaintiff pursuant to Rule 41(a),
M. R. Civ. P. See Voluntary Dismissal of Spanish Peaks Holdings, LLC Without Prejudice
Pursuant to Rule 41(a), M. R. Civ. P attached as Exhibit B. The Clerk filed the Notice of
Dismissal on November 20, 2017. See Notice of Dismissal attached as Exhibit C. Thus, FIC is
the lone remaining defendant.

                                                2
           Case 2:17-cv-00092-SEH Document 1 Filed 12/18/17 Page 3 of 4



      3.      The State Court Action Concerns an Amount in Controversy in
              Excess of $75,000.00, and Involves a Plaintiff and Defendant of
              Diverse Citizenship.

      The State Court Action is a civil action over which this Court has original

jurisdiction under 28 U.S.C. § 1332, and is one which may be removed to this

Court by FIC pursuant to 28 U.S.C. § 1441(6) because it is a civil action between

citizens of different states and the matter in controversy exceeds the sum of

$75,000, exclusive of interest and costs.

              A.    FIC Has a Good Faith Basis to Believe that the Amount in
                    Controversy Exceeds $75,000.00, Exclusive of Interest and
                    Costs.

      In this action, Sadaj has brought claims under the auspices of Montana's

Unfair Trade Practices Act ("UTPA"). Sadaj has alleged entitlement to special,

general, compensatory, and punitive damages. The undersigned has attempted to

contact counsel for Sadaj regarding Sadaj' s damages but has been unable to reach

him. Based on both the nature of the Complaint and the damages asserted by

Sadaj, FIC has a good faith basis for its belief this case meets the amount in

controversy requirement of 28 U.S.C. § 1332(a).

              B.    Plaintiff Is a Citizen of Montana, Whereas Defendant Is a
                    Citizen of New Jersey and Indiana.

      FIC is informed and believes that Plaintiff is a citizen of Montana. See

Exhibit A, State Court Action Complaint, ,r 1. FIC is incorporated in Indiana.

                                            3
            Case 2:17-cv-00092-SEH Document 1 Filed 12/18/17 Page 4 of 4



FI C's principal place of business is New Jersey. Accordingly, FIC qualifies as a

citizen of Indiana and New Jersey for purposes of diversity jurisdiction. Plaintiff

and Defendant in this case are therefore citizens of different states. Additionally,

the lone Defendant, FIC, is not a citizen of Montana, the state in which this action

was filed. See 28 U.S.C. § 144l(b)(2). All diversity requirements for removal are

met.

       4.      FIC Will Notify the State Court of this Removal.

       Pursuant to 28 U.S.C. § 446(d) and L.R. 3.3(a), within seven (7) days after

filing its Notice of Removal with this Court, FIC will promptly file a copy of its

Notice of Removal in the State Court Action.

       5.      Venue Is Proper.

       Removal to this Court, Butte Division, is proper because the State Court

Action was filed in this Court's district in the County of Gallatin. See 28. U.S.C.

§ 144l(a); L.R. l.2(c)(2).

       Based on the foregoing, FIC removes to this Court the State Court Action.

       DATED this 18 th day of December, 201 7.

                                       BERG LILLY, PC

                                       By Isl Elizabeth W. Lund
                                             ELIZABETH W. LUND
                                         Attorneys for Defendant Federal
                                         Insurance Company

                                          4
